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7    ATTORNEYS FOR DEFENDANTS CITY OF LOS ANGELES and BRETT
8    RAMIREZ
9
                              UNITED STATES DISTRICT COURT
10
11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   MARCUS VAUGHN; S.J., a minor, by )             Case No.: CV 16-03086 MRW
                                                )   Honorable Magistrate Judge: Michael R. Wilner
13   and through her guardian ad litem          )
     Tiassa Powell; and D.J.A., a minor, by )
14   and through his guardian ad litem          )
                                                )   ANSWER OF DEFENDANTS CITY
15   Tiassa Powell, in each case individually )     OF LOS ANGELES and BRETT
     and as a successor in interested to Redel ))   RAMIREZ TO PLAINTIFFS’
16                                                  COMPLAINT FOR DAMAGES
     Jones, deceased; and HAROLD                )
                                                )   AND DEMAND FOR JURY TRIAL
17   HORNE, individually,
                                                )
18                                              )
                         Plaintiffs,            )
19   vs.                                        )
                                                )
20                                              )
     CITY OF LOS ANGELES; BRETT                 )
21                                              )
     RAMIREZ; and DOES 1-10, inclusive, )
22                       Defendant              )
23
           COMES NOW DEFENDANTS CITY OF LOS ANGELES and BRETT
24
     RAMIREZ answering Plaintiffs Marcus Vaughn, S.J., a minor, D.J.A., a minor and
25
26   Harold Horne’s Complaint in the above-entitled action, for themselves and for no other
27
     party, hereby admit, deny, and allege as follows:
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1          1.     Answering paragraph 1 of the Complaint, defendants admit the allegations
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     contained therein.
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4          2.     Answering paragraph 2 of the Complaint, defendants lack sufficient
5    information and belief upon which to answer the allegations contained therein, and on
6
     that basis deny the allegations.
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8          3.     Answering paragraph 3 of the Complaint, no factual allegations are made
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     therein, and on that basis the paragraph goes unanswered.
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11         4.     Answering paragraph 4 of the Complaint, defendants lack sufficient

12   information and belief upon which to answer the allegations contained therein, and on
13
     that basis deny the allegations.
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15         5.     Answering paragraph 5 of the Complaint, defendants lack sufficient
16
     information and belief upon which to answer the allegations contained therein, and on
17
18   that basis deny the allegations.

19         6.     Answering paragraph 6 of the Complaint, defendants lack sufficient
20
     information and belief upon which to answer the allegations contained therein, and on
21
22   that basis deny the allegations.
23
24
           7.     Answering paragraph 7 of the Complaint, defendants lack sufficient
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26   information and belief upon which to answer the allegations contained therein, and on
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     that basis deny the allegations.
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1          8.     Answering paragraph 8 of the Complaint, defendants lack sufficient
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     information and belief upon which to answer the allegations contained therein, and on
3
4    that basis deny the allegations.
5          9.     Answering paragraph 9 of the Complaint, defendants lack sufficient
6
     information and belief upon which to answer the allegations contained therein, and on
7
8    that basis deny the allegations.
9
           10.    Answering paragraph 10 of the Complaint, defendants lack sufficient
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11   information and belief upon which to answer the allegations contained therein, and on

12   that basis deny the allegations.
13
           11.    Answering paragraph 11 of the Complaint, no factual allegations are
14
15   made therein, and on that basis the paragraph goes unanswered.
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           12.    Answering paragraph 12 of the Complaint, no factual allegations are
17
18   made therein, and on that basis the paragraph goes unanswered.

19         13.    Answering paragraph 13 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
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22
23         14.    Answering paragraph 14 of the Complaint, defendants lack sufficient
24
     information and belief upon which to answer the allegations contained therein, and on
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26   that basis deny the allegations.
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1          15.    Answering paragraph 15 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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4          16.    Answering paragraph 16 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
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           17.    Answering paragraph 17 of the Complaint, no factual allegations are
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8    made therein, and on that basis the paragraph goes unanswered.
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           18.    Answering paragraph 18 of the Complaint, no factual allegations are
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11   made therein, and on that basis the paragraph goes unanswered.

12         19.    Answering paragraph 19 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
14
15         20.    Answering paragraph 20 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
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18         21.    Answering paragraph 21of the Complaint, defendants lack sufficient

19   information and belief upon which to answer the allegations contained therein, and on
20
     that basis deny the allegations.
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23         22.    Answering paragraph 22 of the Complaint, defendants lack sufficient
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     information and belief upon which to answer the allegations contained therein, and on
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26   that basis deny the allegations.
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1          23.    Answering paragraph 23 of the Complaint, which incorporates by
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     reference the allegations of other paragraphs of the pleading, defendants to the same
3
4    extent incorporate by reference the answers provided herein to those paragraphs.
5          24.    Answering paragraph 24 of the Complaint, defendants deny the
6
     allegations contained therein.
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8          25.    Answering paragraph 25 of the Complaint, defendants deny the
9
     allegations contained therein.
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11         26.    Answering paragraph 26 of the Complaint, defendants deny the

12   allegations contained therein.
13
           27.    Answering paragraph 27 of the Complaint, defendants lack sufficient
14
15   information and belief upon which to answer the allegations contained therein, and on
16
     that basis deny the allegations.
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18         28.    Answering paragraph 28 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
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           29.    Answering paragraph 29 of the Complaint, no factual allegations are
21
22   made therein, and on that basis the paragraph goes unanswered.
23
24
           30.    Answering paragraph 30 of the Complaint, which incorporates by
25
26   reference the allegations of other paragraphs of the pleading, defendants to the same
27
     extent incorporate by reference the answers provided herein to those paragraphs.
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1          31.    Answering paragraph 31 of the Complaint, defendants deny the
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     allegations contained therein.
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4          32.    Answering paragraph 32 of the Complaint, defendants deny the
5    allegations contained therein.
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           33.    Answering paragraph 33 of the Complaint, defendants deny the
7
8    allegations contained therein.
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           34.    Answering paragraph 34 of the Complaint, no factual allegations are
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11   made therein, and on that basis the paragraph goes unanswered.

12         35.    Answering paragraph 35 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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15         36.    Answering paragraph 36 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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18         37.    Answering paragraph 37 of the Complaint, which incorporates by

19   reference the allegations of other paragraphs of the pleading, defendants to the same
20
     extent incorporate by reference the answers provided herein to those paragraphs.
21
22         38.    Answering paragraph 38 of the Complaint, defendants deny the
23   allegations contained therein.
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           39.    Answering paragraph 39 of the Complaint, defendants deny the
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26   allegations contained therein.
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           40.    Answering paragraph 40 of the Complaint, defendants deny the
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1    allegations contained therein.
2
           41.    Answering paragraph 41 of the Complaint, defendants deny the
3
4    allegations contained therein.
5          42.    Answering paragraph 42 of the Complaint, defendants deny the
6
     allegations contained therein.
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8          43.    Answering paragraph 43 of the Complaint, no factual allegations are
9
     made therein, and on that basis the paragraph goes unanswered.
10
11         44.    Answering paragraph 44 of the Complaint, no factual allegations are

12   made therein, and on that basis the paragraph goes unanswered.
13
           45.    Answering paragraph 45 of the Complaint, which incorporates by
14
15   reference the allegations of other paragraphs of the pleading, defendants to the same
16
     extent incorporate by reference the answers provided herein to those paragraphs.
17
18         46.    Answering paragraph 46 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           47.    Answering paragraph 47 of the Complaint, defendants deny the
21
22   allegations contained therein.
23
24
           48.    Answering paragraph 48 of the Complaint, defendants deny the
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26   allegations contained therein.
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           49.    Answering paragraph 49 of the Complaint, defendants deny the
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1    allegations contained therein.
2
           50.    Answering paragraph 50 of the Complaint, no factual allegations are
3
4    made therein, and on that basis the paragraph goes unanswered.
5          51.    Answering paragraph 51 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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8          52.    Answering paragraph 52 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
10
11         53.    Answering paragraph 53 of the Complaint, which incorporates by

12   reference the allegations of other paragraphs of the pleading, defendants to the same
13
     extent incorporate by reference the answers provided herein to those paragraphs.
14
15         54.    Answering paragraph 54 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         55.    Answering paragraph 55 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           56.    Answering paragraph 56 of the Complaint, no factual allegations are
21
22   made therein, and on that basis the paragraph goes unanswered.
23
24
           57.    Answering paragraph 57 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
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1          58.    Answering paragraph 58 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
3
4          59.    Answering paragraph 59 of the Complaint, defendants deny the
5    allegations contained therein.
6
           60.    Answering paragraph 60 of the Complaint, defendants deny the
7
8    allegations contained therein.
9
           61.    Answering paragraph 61 of the Complaint, defendants deny the
10
11   allegations contained therein.

12         62.    Answering paragraph 62 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         63.    Answering paragraph 63 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         64.    Answering paragraph 64 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           65.    Answering paragraph 65 of the Complaint, which incorporates by
21
22   reference the allegations of other paragraphs of the pleading, defendants to the same
23   extent incorporate by reference the answers provided herein to those paragraphs.
24
           66.    Answering paragraph 66 of the Complaint, defendants lack sufficient
25
26   information and belief upon which to answer the allegations contained therein, and on
27
     that basis deny the allegations.
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1          67.    Answering paragraph 67 of the Complaint, defendants deny the
2
     allegations contained therein.
3
4          68.    Answering paragraph 68 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           69.    Answering paragraph 69 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
9
           70.    Answering paragraph 70 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         71.    Answering paragraph 71 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         72.    Answering paragraph 72 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         73.    Answering paragraph 73 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           74.    Answering paragraph 74 of the Complaint, which incorporates by
21
22   reference the allegations of other paragraphs of the pleading, defendants to the same
23   extent incorporate by reference the answers provided herein to those paragraphs.
24
           75.    Answering paragraph 75 of the Complaint, defendants lack sufficient
25
26   information and belief upon which to answer the allegations contained therein, and on
27
     that basis deny the allegations.
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1          76.    Answering paragraph 76 of the Complaint, defendants deny the
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     allegations contained therein.
3
4          77.    Answering paragraph 77 of the Complaint, defendants deny the
5    allegations contained therein.
6
           78.    Answering paragraph 78 of the Complaint, defendants deny the
7
8    allegations contained therein.
9
           79.    Answering paragraph 79 of the Complaint, defendants deny the
10
11   allegations contained therein.

12         80.    Answering paragraph 80 of the Complaint, defendants deny the
13
     allegations contained therein.
14
15         81.    Answering paragraph 81 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         82.    Answering paragraph 82 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           83.    Answering paragraph 83 of the Complaint, no factual allegations are
21
22   made therein, and on that basis the paragraph goes unanswered.
23
24
           84.    Answering paragraph 84 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
27
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1          85.    Answering paragraph 85 of the Complaint, which incorporates by
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     reference the allegations of other paragraphs of the pleading, defendants to the same
3
4    extent incorporate by reference the answers provided herein to those paragraphs.
5          86.    Answering paragraph 86 of the Complaint, defendants lack sufficient
6
     information and belief upon which to answer the allegations contained therein, and on
7
8    that basis deny the allegations.
9
           87.    Answering paragraph 87 of the Complaint, defendants deny the
10
11   allegations contained therein.

12         88.    Answering paragraph 88 of the Complaint, defendants lack sufficient
13
     information and belief upon which to answer the allegations contained therein, and on
14
15   that basis deny the allegations.
16
           89.    Answering paragraph 89 and it’s subparts a-j of the Complaint,
17
18   defendants deny the allegations contained therein.

19         90.    Answering paragraph 90 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         91.    Answering paragraph 91 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
25
26         92.    Answering paragraph 92 and it’s subparts a-c of the Complaint,
27
     defendants deny the allegations contained therein.
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1          93.    Answering paragraph 93 of the Complaint, defendants deny the
2
     allegations contained therein.
3
4          94.    Answering paragraph 94 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           95.    Answering paragraph 95 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
9
10         96.    Answering paragraph 96 of the Complaint, no factual allegations are
11
     made therein, and on that basis the paragraph goes unanswered.
12
13         97.    Answering paragraph 97 of the Complaint, which incorporates by
14   reference the allegations of other paragraphs of the pleading, defendants to the same
15
     extent incorporate by reference the answers provided herein to those paragraphs.
16
17         98.    Answering paragraph 98 of the Complaint, defendants deny the
18
     allegations contained therein.
19
20         99.    Answering paragraph 99 of the Complaint, defendants deny the
21   allegations contained therein.
22
           100. Answering paragraph 100 of the Complaint, defendants deny the
23
24   allegations contained therein.
25
26         101. Answering paragraph 101 of the Complaint, defendants deny the
27
     allegations contained therein.
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1          102. Answering paragraph 102 of the Complaint, no factual allegations are
2
     made therein, and on that basis the paragraph goes unanswered.
3
4          103. Answering paragraph 103 of the Complaint, defendants deny the
5    allegations contained therein.
6
           104. Answering paragraph 104 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
9
10         105. Answering paragraph 105 of the Complaint, no factual allegations are
11
     made therein, and on that basis the paragraph goes unanswered.
12
13
           106. Answering paragraph 106 of the Complaint, no factual allegations are
14
15   made therein, and on that basis the paragraph goes unanswered.
16
           107. Answering paragraph 107 of the Complaint, which incorporates by
17
18   reference the allegations of other paragraphs of the pleading, defendants to the same

19   extent incorporate by reference the answers provided herein to those paragraphs.
20
           108. Answering paragraph 108 of the Complaint, defendants lack sufficient
21
22   information and belief upon which to answer the allegations contained therein, and on
23   that basis deny the allegations.
24
           109. Answering paragraph 109 of the Complaint, defendants deny the
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26   allegations contained therein.
27
           110. Answering paragraph 110 of the Complaint, defendants deny the
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1    allegations contained therein.
2
           111. Answering paragraph 111 of the Complaint, no factual allegations are
3
4    made therein, and on that basis the paragraph goes unanswered.
5          112. Answering paragraph 112 of the Complaint, defendants deny the
6
     allegations contained therein.
7
8          113. Answering paragraph 113 of the Complaint, no factual allegations are
9
     made therein, and on that basis the paragraph goes unanswered.
10
11         114. Answering paragraph 114 of the Complaint, no factual allegations are

12   made therein, and on that basis the paragraph goes unanswered.
13
           115. Answering paragraph 115 of the Complaint, which incorporates by
14
15   reference the allegations of other paragraphs of the pleading, defendants to the same
16
     extent incorporate by reference the answers provided herein to those paragraphs.
17
18         116. Answering paragraph 116 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           117. Answering paragraph 117 and it’s subparts a-h of the Complaint,
21
22   defendants deny the allegations contained therein.
23         118. Answering paragraph 118 of the Complaint, no factual allegations are
24
     made therein, and on that basis the paragraph goes unanswered.
25
26
27         119. Answering paragraph 119 of the Complaint, no factual allegations are

28   made therein, and on that basis the paragraph goes unanswered.

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1          120. Answering paragraph 120 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
3
4          121. Answering paragraph 121 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           122. Answering paragraph 122 of the Complaint, which incorporates by
7
8    reference the allegations of other paragraphs of the pleading, defendants to the same
9
     extent incorporate by reference the answers provided herein to those paragraphs.
10
11         123. Answering paragraph 123 of the Complaint, no factual allegations are

12   made therein, and on that basis the paragraph goes unanswered.
13
           124. Answering paragraph 124 of the Complaint, no factual allegations are
14
15   made therein, and on that basis the paragraph goes unanswered.
16
           125. Answering paragraph 125 of the Complaint, no factual allegations are
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18   made therein, and on that basis the paragraph goes unanswered.

19         126. Answering paragraph 126 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         127. Answering paragraph 127 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
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25
           128. Answering paragraph 128 of the Complaint, no factual allegations are
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27   made therein, and on that basis the paragraph goes unanswered.

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1          129. Answering paragraph 129 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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4          130. Answering paragraph 130 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           131. Answering paragraph 131 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
9
           132. Answering paragraph 132 of the Complaint, defendants deny the
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11   allegations contained therein.

12         133. Answering paragraph 133 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
14
15         134. Answering paragraph 134 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18                               AFFIRMATIVE DEFENSES

19         As a separate and distinct affirmative defenses, defendant alleges each of the
20
     following:
21
22         135. The damages alleged were directly and proximately caused and contributed
23   to by the negligence of decedent, and the extent of damages sustained, if any, should
24
     be reduced in proportion to the amount of said negligence.
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1         136. The damages alleged were directly and proximately caused and contributed
2
     to by the negligence of other persons, and the extent of damages sustained, if any,
3
4    should be reduced in proportion to the amount of said negligence.
5         137. The force used against decedent, if any, was caused and necessitated by the
6
     actions of decedent, and was reasonable and necessary for self-defense
7
8         138. The force used against decedent, if any, was caused and necessitated by the
9
     actions of decedent, and was reasonable and necessary for the defense of others.
10
11         139. The claims are barred by the statute of limitations set forth in California

12   Code of Civil Procedure section 340(3).
13
           140. The action should be abated in that all of the heirs of decedent have not
14
15   been joined as parties.
16
           141. The action is barred for lack of standing to sue.
17
18         142. As to the federal claims and theories of recovery, the answering defendant

19   is protected from liability under the doctrine of qualified immunity, because
20
     defendant’s conduct did not violate clearly established statutory or constitutional rights
21
22   of which a reasonable person would have known.
23         143. Defendant City of Los Angeles and all defendants sued in their official
24
     capacities are immune from the imposition of punitive damages.
25
26         144. Defendant is immune from liability pursuant to the provisions of each of
27
           the
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1    following California statutes, each of which is set forth as a separate and distinct
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     affirmative defense:
3
4    Government Code §§ 815.2, 815.6, 818, 820.8, 834, 834(a), 835, 835(a) and 845.6.
5    Penal Code 836 and 836.5.
6
           145. The state claims are barred for plaintiff's failure to comply with the
7
8    provisions of the California Tort Claims Act, Government Code § 910 et seq.
9
           146. Defendants’ actions are privileged.
10
11   WHEREFORE, Defendants pray for judgment as follows:

12         1.            That Plaintiffs take nothing by this action;
13
           2.            That the action be dismissed;
14
15         3.            That Defendants be awarded costs of suit;
16
           4.            That Defendants be awarded other and further relief as the Court
17
18         may deem just and proper, including an award of attorney's fees pursuant to 42

19         U.S.C. § 1988.
20
     DATE: June 16, 2016
21
22                   MICHAEL N. FEUER, CITY ATTORNEY
                     THOMAS H. PETERS, CHIEF ASST. CITY ATTORNEY
23                   CORY M. BRENTE, SUPER. ASSIST CITY ATTORNEY
24
25
                     BY:__/S/ -   Craig J. Miller_____________
26                       CRAIG J. MILLER, DEPUTY CITY ATTORNEY
27                       ATTORNEYS FOR DEFENDANTS CITY OF LOS ANGELES and
                         BRETT RAMIREZ
28

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1                               DEMAND FOR JURY TRIAL
2
          Defendants hereby demand and request a trial by jury in this matter.
3
4
5    DATE: June 16, 2016
6
                   MICHAEL N. FEUER, CITY ATTORNEY
7                  THOMAS H. PETERS, CHIEF ASST. CITY ATTORNEY
                   CORY M. BRENTE, SUPER. ASSIST CITY ATTORNEY
8
9
10                 BY:__/S/ -   Craig J. Miller_____________
11                     CRAIG J. MILLER, DEPUTY CITY ATTORNEY
                       ATTORNEYS FOR DEFENDANTS CITY OF LOS ANGELES and
12                     BRETT RAMIREZ
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